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10
                          UNITED STATES DISTRICT COURT
11

12                     NORTHERN DISTRICT OF CALIFORNIA
13   TAM DANG, individually and on behalf of
14   all others similarly situated,          Case No.:
15                              Plaintiff,           CLASS ACTION COMPLAINT
16
            v.                                       JURY TRIAL DEMANDED
17

18   MCCORMICK & COMPANY, INC.,
19
                                Defendant.
20

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                                              1
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 1
                                   CLASS ACTION COMPLAINT

 2
            Plaintiff, Tam Dang (“Plaintiff”), on behalf of himself and all others
 3
     similarly situated, brings this class action against Defendant, McCormick &
 4

 5   Company, Inc. (“Defendant” or “McCormick”), and alleges on personal
 6
     knowledge, investigation of his counsel, and on information and belief as follows:
 7

 8                                       INTRODUCTION
 9
            1.       This is a consumer class action brought individually by Plaintiff and
10

11   on behalf of all persons in the below-defined proposed Classes, all of whom
12   purchased one or more spices manufactured by Defendant.1
13
            2.       Defendant is one of the premier manufacturers and distributors of
14

15   spices and seasonings in the United States.
16          3.       For over 100 years, Defendant has offered a diverse range of spices
17
     and seasonings.
18

19          4.       Defendant touts itself as a company that cares for the quality of its
20
     products and the well-being of its customers: “We stand with our customers,
21

22

23

24

25   1
       The purchased products include but are not limited to McCormick-branded: culinary ground
26   basil, ground ginger, ground thyme, ground oregano, paprika, and ground turmeric (the “Spices.”).
     Plaintiff reserves to right to amend the Complaint to revise the list of products subject to this
27   Complaint.

28                                                  2
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 1
     innovating new products that make good food taste great while contributing to

 2   happier, healthier lives.”2
 3
            5.       Unbeknown to Plaintiff and members of the proposed Classes, and
 4

 5   contrary to the representations on the Spices’ label, the Spices contain heavy

 6   metals, including arsenic, cadmium, and lead at levels above what is considered
 7
     safe for children and adults, which, if disclosed to Plaintiff and members of the
 8

 9   proposed Classes prior to purchase, would have caused Plaintiff and members of

10   the proposed Classes not to purchase or consume the Spices.
11
            6.       Tellingly, Defendant does not list heavy metals as an ingredient on
12

13   the Spices’ label nor does it warn of the potential presence of heavy metals in its

14   Spices.
15
            7.       As a result, the Spices’ labeling is deceptive and misleading.
16

17          8.       Plaintiff and the members of the proposed Classes, as defined below,
18   thus bring claims for consumer fraud and seek damages, injunctive and declaratory
19
     relief, interest, costs, and attorneys’ fees.
20

21

22

23

24

25

26   2
      https://www.mccormickcorporation.com/en/company/culture-values (last accessed Jan. 21,
27   2022).

28                                                   3
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 1
                                          THE PARTIES

 2         9.       Plaintiff is a resident and citizen of the State of California, residing in
 3
     El Cerrito, California and is a member of the proposed Classes defined herein. He
 4

 5   purchased various Spices at Safeway in California during the statutory period.

 6         10.      Defendant McCormick & Company is a Maryland corporation, with
 7
     its principal place of business at 24 Schilling Rd Suite 1, Hunt Valley, MD 21031.
 8

 9   As such, Defendant is a resident and citizen of Maryland.

10                               JURISDICTION AND VENUE
11
           11.      This Court has personal jurisdiction over Plaintiff in this matter. The
12

13   acts and omissions giving rise to this action occurred in the state of California.
14   Defendant has been afforded due process because it has, at all times relevant to this
15
     matter, individually or through its agents, subsidiaries, officers and/or
16

17   representatives, operated, conducted, engaged in and carried on a business venture
18   in this state and/or maintained an office or agency in this state, and/or marketed,
19
     advertised, distributed and/or sold products, committed a statutory violation within
20

21   this state related to the allegations made herein, and caused injuries to Plaintiff and
22   putative Class Members, which arose out of the acts and omissions that occurred
23
     in the state of California, during the relevant time period, at which time Defendant
24

25   were engaged in business activities in the state of California.
26

27

28                                                4
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 1
           12.    This Court has subject matter jurisdiction over this matter pursuant to

 2   28 U.S.C.§ 1332 of the Class Action Fairness Act of 2005 because: (i) there are
 3
     100 or more putative Class Members, (ii) the aggregate amount in controversy
 4

 5   exceeds $5,000,000, exclusive of interest and costs, and (iii) there is minimal

 6   diversity because at least one Plaintiff and Defendant are citizens of different
 7
     states. This Court has supplemental jurisdiction over Plaintiff’s state law claims
 8

 9   pursuant to 28 U.S.C. § 1367.

10         13.    Pursuant to 28 U.S.C. § 1391(a), venue is proper because a substantial
11
     part of the events giving rise to the claims asserted occurred in this District. Venue
12

13   is also proper pursuant to 28 U.S.C. § 1391(c) because Defendant conducts

14   substantial business in this District, has sufficient minimum contacts with this
15
     District, and otherwise purposely avails itself of the markets in this District,
16

17   through the promotion, sale, and marketing of the Spices in this District. Venue is
18   also proper because Plaintiff resides within this District.
19
                    FACTS COMMON TO ALL CLASS MEMBERS
20

21         14.    Defendant manufactures, distributes, promotes, offers for sale, and
22
     sells the Spices, both in the past and currently. Defendant has advertised and
23

24
     continues to advertise the Spices through television commercials, print

25   advertisements, point-of-sale displays, product packaging, Internet advertisements,
26
     and other promotional materials.
27

28                                              5
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 1
            15.    An investigation by known consumer-advocacy group Consumer

 2   Reports revealed that Spices manufactured by Defendant contain “potentially
 3
     dangerous heavy metals:”3
 4

 5                 “Roughly one-third of the tested products, 40 in total, had
                   high enough levels of arsenic, lead, and cadmium
 6
                   combined, on average, to pose a health concern for
 7                 children when regularly consumed in typical serving sizes.
 8                 Most raised concern for adults, too.”4
 9
            16.    Exposure to heavy metals causes permanent decreases in IQ,
10

11
     diminished future economic productivity, and increased risk of future criminal and

12   antisocial behavior in children. Toxic heavy metals endanger infant neurological
13
     development and long-term brain function. Lead and arsenic are heavy metals
14

15   known to cause a wide spectrum of adverse outcomes in pregnancy such as

16   abortions, retarded growth at the intrauterine cavity, skeletal deformities,
17
     malformations, and retarded development especially of the nervous system. 5
18

19          17.    Young children are particularly vulnerable to lead because the

20   physical and behavioral effects of lead occur at lower exposure levels in children
21
     than in adults. A dose of lead that would have little effect on an adult can have a
22

23   significant effect on a child. In children, low levels of exposure have been linked

24

25   3
       https://www.consumerreports.org/food-safety/your-herbs-and-spices-might-contain-arsenic-
26   cadmium-and-lead/#tests (last accessed January 21, 2022)
     4
       Id.
     5
27     Id.

28                                                 6
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 1
     to damage to the central and peripheral nervous system, learning disabilities,

 2   shorter stature, impaired hearing, and impaired formation and function of blood
 3
     cells.6
 4

 5             18.   EPA has set the maximum contaminant level goal for lead in drinking

 6   water at zero because lead is a toxic metal that can be harmful to human health
 7
     even at low exposure levels. Lead is persistent, and it can bioaccumulate in the
 8

 9   body over time.7

10             19.   The Agency for Toxic Substances and Disease Registry states that
11
     there may be no threshold for lead with regards to developmental impact on
12

13   children. “In other words there are no safe limits for [lead].8

14

15
                             FED. R. CIV. P. 9(b) ALLEGATIONS
16

17             20.   Rule 9(b) of the Federal Rules of Civil Procedure provided that “[i]n
18   alleging fraud or mistake, a party must state with particularity the circumstances
19
     constituting fraud or mistake.” To the extent necessary, as detailed in the
20

21   paragraphs above and below, Plaintiff has satisfied the requirements of Rule 9(b)
22   by establishing the following elements with sufficient particularity.
23

24
     6
       See https://www.cdc.gov/nceh/lead/prevention/pregnant.htm.
25   7
       See https://www.epa.gov/ground-water-and-drinking-water/basic-information-about-lead-
26   drinking-water.
     8
       G. Schwalfenberg, I. Rodushkinb, S.J. Genuis, “Heavy metal contamination of prenatal
27   vitamins,” Toxicology Reports 5 at 392 (2018).

28                                                7
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 1
           21.     WHO:     Defendant    made       material   misrepresentations   and/or

 2   omissions of fact in its labeling and marketing of the Spices by misrepresenting
 3
     those Spices’ composition and/or omitting the presence of heavy metals.
 4

 5         22.     WHAT: Defendant’s conduct here was and continues to be fraudulent

 6   because it has the effect of deceiving consumers into believing that the Spices do
 7
     not contain heavy metals. Defendant omitted from Plaintiff and Class Members
 8

 9   that the Spices contain heavy metals. Defendant knew or should have known this

10   information is material to all reasonable consumers and impacts consumers’
11
     purchasing decisions. Yet, Defendant has and continues to represent that the Spices
12

13   are of a composition not containing heavy metals when they do contain heavy

14   metals and has omitted from the Spices’ labeling the fact that they contain heavy
15
     metals.
16

17         23.     WHEN: Defendant made material misrepresentations and/or
18   omissions detailed herein, including that the Spices do not contain heavy metals,
19
     continuously throughout the applicable Class period(s).
20

21         24.     WHERE: Defendant’s material misrepresentations and omissions,
22   that the Spices do not contain heavy metals, were made on the front labeling and
23
     packaging of the Spices and throughout Defendant’s advertising. Defendant’s
24

25   representations and omissions were viewed by every purchaser, including Plaintiff,
26

27

28                                              8
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 1
     at the point of sale in every transaction. The Spices are sold worldwide in brick-

 2   and-mortar stores and online store nationwide.
 3
           25.    HOW: Defendant omitted from the Spices’ labeling the fact that they
 4

 5   contain heavy metals. And as discussed in detail throughout this Complaint,

 6   Plaintiff and Class Members read and relied on Defendant’s front-label
 7
     representations and omissions before purchasing the Spices.
 8

 9         26.    WHY: Defendant misrepresented its Spices are not containing heavy

10   metals and omitted from the Spices’ labeling the fact that they do contain heavy
11
     metals for the express purpose of inducing Plaintiff and Class Members to purchase
12

13   the Spices at a substantial price premium. As such, Defendant profited by selling

14   the misrepresented Spices to at least thousands of consumers throughout the nation.
15
                            CLASS ACTION ALLEGATIONS
16

17         27.    Plaintiff brings this action individually and on behalf of all other
18   persons similarly situated pursuant to Federal Rule of Civil Procedure 23. The class
19
     definition(s) may depend on the information obtained throughout discovery.
20

21   Notwithstanding, at this time, Plaintiff brings this action and seeks certification of
22   the following proposed Classes:
23
                   National Class: All persons within the United States
24                 who purchased and consumed the Spices from the
25                 beginning of any applicable limitations period through
                   the date of class certification.
26

27

28                                              9
     CLASS ACTION COMPLAINT
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 1
           Plaintiff also brings this action on behalf of the following State

 2   Sub-Class:
 3
                   California Sub-Class: All persons in the State of
 4                 California who purchased and consumed the Spices
 5                 from the beginning of any applicable limitations period
                   through the date of class certification.
 6

 7         28.    Excluded from the proposed Classes are the Defendant, and any

 8   entities in which the Defendant has controlling interest, the Defendant’s agents,
 9
     employees and its legal representatives, any Judge to whom this action is assigned
10

11   and any member of such Judge’s staff and immediate family, and Plaintiff’s

12   counsel, their staff members, and their immediate family.
13
           29.    Plaintiff reserves the right to amend the definition of the Classes if
14

15   discovery or further investigation reveals that the Classes should be expanded or
16   otherwise modified.
17
           30.    Certification of Plaintiff’s claims for class-wide treatment is
18

19   appropriate because Plaintiff can prove the elements of his claims on a class-wide
20   basis using the same evidence as would be used to prove those elements in
21
     individual actions alleging the same claims.
22

23         31.    Numerosity – Federal Rule of Civil Procedure 23(a)(1). Class
24   Members are so numerous and geographically dispersed that joinder of all Class
25
     Members is impracticable. While the exact number of Class Members remains
26

27   unknown at this time, upon information and belief, there are thousands, if not
28                                            10
     CLASS ACTION COMPLAINT
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 1
     hundreds of thousands, of putative Class Members. Moreover, the number of

 2   members of the Classes may be ascertained from Defendant’s books and records.
 3
     Class Members may be notified of the pendency of this action by mail and/or
 4

 5   electronic mail, which can be supplemented if deemed necessary or appropriate by

 6   the Court with published notice.
 7
           32.    Predominance of Common Questions of Law and Fact – Federal
 8

 9   Rule of Civil Procedure 23(a)(2) and 23(b)(3). Common questions of law and

10   fact exist as to all Class Members and predominate over any questions affecting
11
     only individual Class Members. These common legal and factual questions
12

13   include, but are limited to, the following:

14               a. Whether the Spices contain dangerous levels of heavy metals;
15
                 b. Whether the marketing, advertising, packaging, labeling, and other
16

17                  promotional materials for the Spices are deceptive;
18               c. Whether Defendant’s actions violate the state consumer fraud statutes
19
                    invoked below;
20

21               d. Whether Defendant’s actions constitute common law fraud;
22               e. Whether Plaintiff and Members of the Classes were damaged by
23
                    Defendant’s conduct;
24

25               f. Whether Defendant was unjustly enriched at the expense of Plaintiff
26                  and Class Members; and
27

28                                             11
     CLASS ACTION COMPLAINT
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 1
                 g. Whether Plaintiff and Class Members are entitled to injunctive relief.

 2         33.    Typicality – Federal Rule of Civil Procedure 23(a)(3). The claims
 3
     of the named Plaintiff are typical of the claims of other Members of the Classes.
 4

 5   All Members of the Classes were comparably injured by Defendant’s conduct

 6   described above, and there are no defenses available to Defendant that are unique
 7
     to Plaintiff or any particular members of the Classes.
 8

 9         34.    Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will

10   fairly and adequately represent and protect the interests of the members of the
11
     putative Classes. Plaintiff has retained counsel with substantial experience in
12

13   handling complex class action litigation, including complex questions that arise in

14   this type of consumer protection litigation. Further, Plaintiff and her counsel are
15
     committed to the vigorous prosecution of this action. Plaintiff does not have any
16

17   conflicts of interest or interests adverse to those of putative Classes.
18         35.    Insufficiency of Separate Actions – Federal Rule of Civil
19
     Procedure 23(b)(1). Absent a class action, Plaintiff and members of the Classes will
20

21   continue to suffer the harm described herein, for which they would have no remedy.
22   Even if separate actions could be brought by individual consumers, the resulting
23
     multiplicity of lawsuits would cause undue burden and expense for both the Court
24

25   and the litigants, as well as create a risk of inconsistent rulings and adjudications that
26   might be dispositive of the interests of similarly situated consumers, substantially
27

28                                              12
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 1
     impeding their ability to protect their interests, while establishing incompatible

 2   standards of conduct for Defendant. Accordingly, the proposed Classes satisfy the
 3
     requirements of Fed. R. Civ. P. 23(b)(1).
 4

 5         36.    Declaratory and Injunctive Relief – Federal Rule of Civil

 6   Procedure 23(b)(2). Defendant has acted or refused to act on grounds generally
 7
     applicable to Plaintiff and the other Members of the Classes, thereby making
 8

 9   appropriate final injunctive relief and declaratory relief, as described below, with

10   respect to the Members of the Classes as a whole. In particular, Plaintiff seeks to
11
     certify the Classes to enjoin Defendant from selling or otherwise distributing spices
12

13   until such time that Defendant can demonstrate to the Court’s satisfaction that their

14   spices are accurately labeled.
15
           37.    Superiority – Federal Rule of Civil Procedure 23(b)(3). A class
16

17   action is superior to any other available methods for the fair and efficient
18   adjudication of the present controversy for at least the following reasons:
19
                 a. The damages suffered by each individual members of the putative
20

21                 Classes do not justify the burden and expense of individual
22                 prosecution of the complex and extensive litigation necessitated by
23
                   Defendant’s conduct;
24

25

26

27

28                                            13
     CLASS ACTION COMPLAINT
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 1
               b. Even if individual members of the Classes had the resources to pursue

 2                individual litigation, it would be unduly burdensome to the courts in
 3
                  which the individual litigation would proceed;
 4

 5             c. The claims presented in this case predominate over any questions of

 6                law or fact affecting individual members of the Classes;
 7
               d. Individual joinder of all members of the Classes is impracticable;
 8

 9             e. Absent a Class, Plaintiff and members of the putative Classes will

10                continue to suffer harm as a result of Defendant’s unlawful conduct;
11
                  and
12

13             f. This action presents no difficulty that would impede its management

14                by the Court as a class action, which is the best available means by
15
                  which Plaintiff and members of the putative Classes can seek redress
16

17                for the harm caused by Defendant.
18             g. In the alternative, the Classes may be certified for the following
19
                  reasons:
20

21                  i. The prosecution of separate actions by individual members of the
22                      Classes would create a risk of inconsistent or varying
23
                        adjudication with respect to individual members of the Classes,
24

25                      which would establish incompatible standards of conduct for
26                      Defendant;
27

28                                           14
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 1
                     ii. Adjudications of claims of the individual members of the Classes

 2                       against Defendant would, as a practical matter, be dispositive of
 3
                         the interests of other members of the putative Classes who are
 4

 5                       not parties to the adjudication and may substantially impair or

 6                       impede the ability of other putative Class Members to protect
 7
                         their interests; and
 8

 9                  iii. Defendant has acted or refused to act on grounds generally

10                       applicable to the members of the putative Classes, thereby
11
                         making appropriate final and injunctive relief with respect to the
12

13                       putative Classes as a whole.

14

15                                 CAUSES OF ACTION

16                                      COUNT I
17                        California’s Unfair Competition Law
                     Cal. Bus. & Prof. Code § 17200 et seq. (“UCL”)
18                       (On Behalf of the California Sub-Class)
19
           38. Plaintiff, individually and on behalf of the California Sub-Class, repeats
20

21   and realleges all previously alleged paragraphs, as if fully alleged herein.
22         39.    The UCL prohibits any “unlawful, unfair or fraudulent business act or
23
     practice.” Cal. Bus. & Prof. Code § 17200.
24

25         40.    The acts, omissions, misrepresentations, practices, and non-disclosures
26   of Defendant as alleged herein constitute business acts and practices.
27

28                                              15
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 1
           41. Unlawful: The acts alleged herein are “unlawful” under the UCL in that

 2   they violate at least the following laws:
 3
                 a. The False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq.;
 4

 5               b. The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq.;

 6               c. The Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301 et seq.;
 7
                    and
 8

 9               d. The California Sherman Food, Drug, and Cosmetic Law, Cal. Health

10                  & Safety Code §§ 110100 et seq.
11
           42.    Unfair: Defendant’s conduct with respect to the labeling, advertising,
12

13   and sale of the Spices was “unfair” because Defendant’s conduct was immoral,

14   unethical, unscrupulous, or substantially injurious to consumers and the utility of
15
     their conduct, if any, does not outweigh the gravity of the harm to their victims.
16

17         43.    Defendant’s conduct with respect to the labeling, advertising, and sale
18   of the Spices was and is also unfair because it violates public policy as declared by
19
     specific constitutional, statutory or regulatory provisions, including but not limited
20

21   to the applicable sections of: the Consumers Legal Remedies Act, the False
22   Advertising Law, the Federal Food, Drug, and Cosmetic Act, and the California
23
     Sherman Food, Drug, and Cosmetic Law.
24

25         44.    Defendant’s conduct with respect to the labeling, advertising, and sale
26   of the Spices was and is unfair because the consumer injury was substantial, not
27

28                                               16
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 1
     outweighed by benefits to consumers or competition, and not one consumer

 2   themselves could reasonably have avoided.
 3
             45.   Fraudulent: A statement or practice is “fraudulent” under the UCL if it
 4

 5   is likely to mislead or deceive the public, applying an objective reasonable consumer

 6   test.
 7
             46.   As set forth herein, Defendant’s material misrepresentations and/or
 8

 9   omissions detailed herein, including that the Spices do not contain heavy metals, are

10   likely to mislead reasonable consumers to believe the Spice do not contain heavy
11
     metals.
12

13           47.   Defendant profited from its sale of the falsely, deceptively, and

14   unlawfully advertised Spices to unwary consumers.
15
             48.   Plaintiff and Class Members are likely to continue to be damaged by
16

17   Defendant’s deceptive trade practices, because Defendant continues to disseminate
18   misleading information, in particular the material representations and/or omissions
19
     that the Spices do not contain heavy metals on the Spice’s packaging. Thus,
20

21   injunctive relief enjoining Defendant’s deceptive practices is proper.
22           49.   Defendant’s conduct caused and continues to cause substantial injury
23
     to Plaintiff and the other Class Members. Plaintiff has suffered injury in fact as a
24

25   result of Defendant’s unlawful conduct.
26

27

28                                             17
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 1
            50.    In accordance with Bus. & Prof. Code § 17203, Plaintiff seeks an order

 2   enjoining Defendant from continuing to conduct business through unlawful, unfair,
 3
     and/or fraudulent acts and practices, and to commence a corrective advertising
 4

 5   campaign.

 6          51.    Plaintiff and the Class also seek an order for and restitution of all
 7
     monies from the sale of the Spices, which were unjustly acquired through acts of
 8

 9   unlawful competition.

10

11
                                         COUNT II
12                           California’s False Advertising Law
13                         Cal. Bus. & Prof. Code § 17500 (“FAL”)
                           (On Behalf of the California Sub-Class)
14

15          52.    Plaintiff repeats and realleges the allegations in the previous paragraphs

16   as if fully set forth herein.
17
            53.    The FAL provides that “[i]t is unlawful for any person, firm,
18

19   corporation or association, or any employee thereof with intent directly or indirectly
20   to dispose of real or personal property or to perform services” to disseminate any
21
     statement “which is untrue or misleading, and which is known, or which by the
22

23   exercise of reasonable care should be known, to be untrue or misleading.” Cal. Bus.
24   & Prof. Code § 17500.
25

26

27

28                                              18
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 1
           54.     It is also unlawful under the FAL to disseminate statements concerning

 2   property or services that are “untrue or misleading, and which is known, or which
 3
     by the exercise of reasonable care should be known, to be untrue or misleading.” Id.
 4

 5         55.     As alleged herein, Defendant committed acts of false and misleading

 6   advertising, as defined by the FAL, by using statements to promote the sale of it’s
 7
     the Spices and making material representations and/or omissions that the Spices do
 8

 9   not contain heavy metals. Defendant knew or should have known that its advertising

10   claims have not been substantiated and are misleading and/or false.
11
           56.     Defendant knew or should have known, through the exercise of
12

13   reasonable care, that its material representations and/or omissions that the Spices do

14   not contain heavy metals Representations were false and misleading and likely to
15
     deceive consumers and cause them to purchase the Spices.
16

17         57.     Defendant’s wrongful conduct is ongoing and part of a general practice
18   that is still being perpetuated and repeated throughout the State of California and
19
     nationwide.
20

21         58.     Plaintiff suffered injury in fact as a result of Defendant’s actions as set
22   forth herein because he purchased the Spices in reliance on Defendant’s false and
23
     misleading the material representations and/or omissions that the Spices do not
24

25   contain heavy metals.
26

27

28                                              19
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 1
            59.     Defendant’s business practices as alleged herein constitute deceptive,

 2   untrue, and misleading advertising pursuant to the FAL because Defendant has
 3
     advertised the Spices in a manner that is untrue and misleading, which Defendant
 4

 5   knew or reasonably should have known, and omitted material information from its

 6   advertising.
 7
            60.     Defendant profited from its sale of the falsely and deceptively
 8

 9   advertised Spices to unwary consumers.

10          61.     As a result, Plaintiff, the California Sub-Class members, and the general
11
     public are entitled to injunctive and equitable relief, restitution, and an order for the
12

13   disgorgement of the funds by which Defendant was unjustly enriched.

14          62.     Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of
15
     himself and the California Sub-Class, seeks an order enjoining Defendant from
16

17   continuing to engage in deceptive business practices, false advertising, and any other
18   act prohibited by law, including those set forth in this Complaint.
19
                                         COUNT III
20                        California’s Consumer Legal Remedies Act
21                         Cal. Civ. Code § 1750 et seq. (“CLRA”)
                           (On Behalf of the California Sub-Class)
22

23          63.     Plaintiff repeats and realleges the allegations in the previous paragraphs
24   as if fully set forth herein
25

26

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28                                               20
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 1
           64.    The CLRA prohibits deceptive practices in connection with the conduct

 2   of a business that provides goods, property, or services primarily for personal,
 3
     family, or household purposes.
 4

 5         65.    Defendant’s false and misleading labeling and other policies, acts, and

 6   practices were designed to, and did, induce the purchase and use of the Spices for
 7
     personal, family, or household purposes by Plaintiff and Class Members, and
 8

 9   violated and continue to violate the following sections of the CLRA:

10               a. § 1770(a)(5): representing that goods have characteristics, uses, or
11
                    benefits which they do not have;
12

13               b. § 1770(a)(7): representing that goods are of a particular standard,

14                  quality, or grade if they are of another;
15
                 c. § 1770(a)(9): advertising goods with intent not to sell them as
16

17                  advertised; and
18               d. § 1770(a)(16): representing the subject of a transaction has been
19
                    supplied in accordance with a previous representation when it has not.
20

21         66.    Defendant profited from the sale of the falsely, deceptively, and
22   unlawfully advertised Spices to unwary consumers.
23
           67.    Defendant’s wrongful business practices constituted, and constitute, a
24

25   continuing course of conduct in violation of the CLRA.
26

27

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 1
           68.    Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff will

 2   provide a letter to Defendant concurrently with the filing of this Class Action
 3
     Complaint or shortly thereafter with notice of its alleged violations of the CLRA,
 4

 5   demanding that Defendant correct such violations, and providing it with the

 6   opportunity to correct its business practices. If Defendant does not thereafter correct
 7
     its business practices, Plaintiff will amend (or seek leave to amend) the complaint to
 8

 9   add claims for monetary relief, including restitution and actual damages under the

10   Consumers Legal Remedies Act.
11
           69.    Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive
12

13   relief, his reasonable attorney fees and costs, and any other relief that the Court

14   deems proper.
15

16

17                                      COUNT IV
                                           Fraud
18                          (On Behalf of the Nationwide and/or
19                                California Sub-Class)
20         70.    Plaintiff, individually and on behalf of the National Class, repeats and
21
     re-alleges all previously alleged paragraphs, as if fully alleged herein.
22

23         71.    Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n
24   alleging fraud or mistake, a party must state with particularity the circumstances
25
     constituting fraud or mistake.” To the extent necessary, as detailed in the paragraphs
26

27

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 1
     above and below, Plaintiff has satisfied the requirements of Rule 9(b) by establishing

 2   the following elements with sufficient particularity:
 3
                a. WHO: Defendant made material misrepresentations and/or omissions
 4

 5                 of fact in its labeling and marketing of the Spices by misrepresenting

 6                 those Spices’ composition and/or omitting the presence of heavy
 7
                   metals.
 8

 9              b. WHAT: Defendant’s conduct here was and continues to be fraudulent

10                 because it has the effect of deceiving consumers into believing that
11
                   the Spices do not contain heavy metals. Defendant omitted from
12

13                 Plaintiff and Class Members that the Spices contain heavy metals.

14                 Defendant knew or should have known this information is material to
15
                   all reasonable consumers and impacts consumers’ purchasing
16

17                 decisions. Yet, Defendant has and continues to represent that the
18                 Spices are of a composition not containing heavy metals when they
19
                   do contain heavy metals and has omitted from the Spices’ labeling the
20

21                 fact that they contain heavy metals.
22              c. WHEN: Defendant made material misrepresentations and/or
23
                   omissions detailed herein, including that the Spices do not contain
24

25                 heavy metals, continuously throughout the applicable Class period(s).
26

27

28                                            23
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 1
                 d. WHERE: Defendant’s material misrepresentations and omissions,

 2                  that the Spices do not contain heavy metals, were made on the front
 3
                    labeling and packaging of the Spices and throughout Defendant’s
 4

 5                  advertising. Defendant’s representations and omissions were viewed

 6                  by every purchaser, including Plaintiff, at the point of sale in every
 7
                    transaction. The Spices are sold worldwide in brick-and-mortar stores
 8

 9                  and online store nationwide.

10               e. HOW: Defendant omitted from the Spices’ labeling the fact that they
11
                    contain heavy metals. And as discussed in detail throughout this
12

13                  Complaint, Plaintiff and Class Members read and relied on

14                  Defendant’s front-label representations and omissions before
15
                    purchasing the Spices.
16

17               f. WHY: Defendant misrepresented its Spices are not containing heavy
18                  metals and omitted from the Spices’ labeling the fact that they do
19
                    contain heavy metals for the express purpose of inducing Plaintiff and
20

21                  Class Members to purchase the Spices at a substantial price premium.
22                  As such, Defendant profited by selling the misrepresented Spices to
23
                    at least thousands of consumers throughout the nation.
24

25         72.    As alleged herein, Defendant made these material representations and
26   omissions in order to induce Plaintiff and Class Members to purchase the Spices.
27

28                                            24
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 1
           73.    As alleged in detail herein, Defendant knew the misrepresentations and

 2   omissions regarding the Spices were false and misleading but nevertheless made
 3
     such representations and omissions through the marketing, advertising and on the
 4

 5   Spices’ labeling. In reliance on these representations and omissions, Plaintiff and

 6   Class Members were induced to, and did, pay monies to purchase the Spices.
 7
           74.    Had Plaintiff and the Class known the truth about the Spices, they
 8

 9   would not have purchased the Spices.

10         75.    As a proximate result of the fraudulent conduct of Defendant, Plaintiff
11
     and Class Members paid monies to Defendant, through its regular retail sales
12

13   channels, to which Defendant is not entitled, and have been damaged in an amount

14   to be proven at trial.
15
                                          COUNT V
16
                                     Unjust Enrichment
17                            (On Behalf of the Nationwide and/or
                                    California Sub-Class)
18

19         76.    Plaintiff, individually and on behalf of the National Class, repeats and
20
     realleges all previously alleged paragraphs, as if fully alleged herein.
21

22
           77.    Plaintiff and the putative Class Members conferred a benefit on

23   Defendant when they purchased the Spices, of which Defendant had knowledge. By
24
     its wrongful acts and omissions described herein, including selling the Spices, which
25

26
     contain heavy metals, including arsenic, cadmium, and lead at levels above what is

27

28                                             25
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 1
     considered safe for children and adults, Defendant was unjustly enriched at the

 2   expense of Plaintiff and the putative Class Members. Plaintiff’s detriment and
 3
     Defendant’s enrichment were related to and flowed from the wrongful conduct
 4

 5   challenged in this Complaint.

 6         78.    Defendant has profited from its unlawful, unfair, misleading, and
 7
     deceptive practices at the expense of Plaintiff and the putative Class Members under
 8

 9   circumstances in which it would be unjust for Defendant to be permitted to retain

10   the benefit. It would be inequitable for Defendant to retain the profits, benefits, and
11
     other compensation obtained from their wrongful conduct as described herein in
12

13   connection with selling the Spices.

14         79.    Defendant has been unjustly enriched in retaining the revenues derived
15
     from the proposed Class Members’ purchases of the Spices, which retention of such
16

17   revenues under these circumstances is unjust and inequitable because Defendant
18   manufactured defective Spices, and misrepresented the nature of the Spices,
19
     misrepresented their composition, and knowingly marketed and promoted dangerous
20

21   and defective Spices, which caused injuries to Plaintiff and Members of the proposed
22   Class because they would not have purchased the Spices based on the same
23
     representations if the true facts concerning the Spices had been known.
24

25         80.    Plaintiff and the putative Class Members have been damaged as a direct
26   and proximate result of Defendant’s unjust enrichment because they would not have
27

28                                             26
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 1
     purchased the Spices on the same terms or for the same price had they known the

 2   true nature of the Spices and the misstatements regarding what the Spices were and
 3
     what they contained.
 4

 5         81.    Plaintiff and the putative Class Members are entitled to recover from

 6   Defendant all amounts wrongfully collected and improperly retained by Defendant.
 7
           82.    When required, Plaintiff and the putative Class Members are in privity
 8

 9   with Defendant because Defendant’s sale of the Spices was either direct or through

10   authorized sellers. Purchasing through authorized sellers is sufficient to create such
11
     privity because such authorized sellers are Defendant’s agents for the purpose of the
12

13   sale of the Spices.

14         83.    As a direct and proximate result of Defendant’s wrongful conduct and
15
     unjust enrichment, Plaintiff and the putative Class Members are entitled to restitution
16

17   of, disgorgement of, and/or imposition of a constructive trust upon all profits,
18   benefits, and other compensation obtained by Defendant for its inequitable and
19
     unlawful conduct.
20

21                                PRAYER FOR RELIEF
22
            WHEREFORE, Plaintiff, individually and on behalf of all others similarly
23

24    situated members of the Classes, pray for relief and judgment, including entry of
25
      an order:
26

27

28                                             27
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 1
              A. Declaring that this action is properly maintained as a class action,

 2               certifying the proposed Class(es), appointing Plaintiff as Class
 3
                 Representative and appointing Plaintiff’s counsel as Class Counsel;
 4

 5            B. Directing that Defendant bear the costs of any notice sent to the

 6               Class(es);
 7
              C. Declaring that Defendant must disgorge, for the benefit of the
 8

 9               Class(es), all or part of the ill-gotten profits they received from the

10               sale of the Spices, or order Defendant to make full restitution to
11
                 Plaintiff and the members of the Class(es) except that no monetary
12

13               relief is presently sought for violations of the Consumers Legal

14               Remedies Act;
15
              D. Awarding restitution and other appropriate equitable relief;
16

17            E. Granting an injunction against Defendant to enjoin it from
18               conducting its business through the unlawful, unfair and fraudulent
19
                 acts or practices set forth herein;
20

21            F. Granting an Order requiring Defendant to fully and appropriately
22               recall the Spices, to remove the claims on its website and elsewhere,
23
                 including the material representations and/or omissions that the
24

25               Spices do not contain heavy metals;
26            G. Ordering a jury trial and damages according to proof;
27

28                                           28
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 1
              H. Awarding Plaintiff and members of the Class(es) statutory damages,

 2               as provided by the applicable state consumer protection statutes
 3
                 invoked above, except that no monetary relief is presently sought for
 4

 5               violations of the Consumers Legal Remedies Act;

 6            I. Enjoining Defendant from continuing to engage in the unlawful and
 7
                 unfair business acts and practices as alleged herein;
 8

 9            J. Awarding attorneys’ fees and litigation costs to Plaintiff and

10               members of the Class(es);
11
              K. Awarding civil penalties, prejudgment interest and punitive damages
12

13               as permitted by law; and

14            L. Ordering such other and further relief as the Court deems just and
15
                 proper.
16

17
                                     JURY DEMAND
18

19         Plaintiff demands a trial by jury of all claims in this Complaint so triable.
20

21   Dated: February 1, 2022               Respectfully submitted,
22
                                            /s/ Jonathan Shub
23                                          Jonathan Shub (SBN 237708)
                                            Kevin Laukaitis*
24
                                            SHUB LAW FIRM LLC
25                                          134 Kings Highway E, 2nd Floor
                                            Haddonfield, NJ 08033
26
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27

28                                           29
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14                                      *Pro Hac Vice Application Forthcoming
15
                                        Attorneys for Plaintiff and Putative Class
16                                      Members
17

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 1
     CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

 2
           I, Jonathan Shub, declare as follows:
 3

 4         1.     I am an attorney at law licensed to practice in the State of California
 5
     and a member of the bar of this Court. I am an attorney at Shub Law Firm LLC,
 6
     counsel of record for Plaintiff in this action. I have personal knowledge of the facts
 7

 8   set forth in this declaration and, if call as a witness, I could and would competently
 9
     testify thereto under oath.
10
           2.     The Complaint filed in this action is filed in the proper place for trial
11

12   under Civil Code Section 1780(d) in that a substantial portion of the events alleged
13
     in the Complaint occurred in the Northern District of California.
14
           I declare under the penalty of perjury under the laws of the State of California
15

16   and the United States that the foregoing is true and correct and that this declaration
17
     was executed at Haddonfield, New Jersey this 1st day of February, 2022.
18
                                                    /s/ Jonathan Shub
19
                                                    Jonathan Shub
20

21

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28                                             31
     CLASS ACTION COMPLAINT
